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  STATE OF-INDIANA                   )                          IN GRANT CIRCUIT COURT
                                     ) SS:
  COUNTY OF GRANT

  STATE OF INDIANA

      Vs

  RYAN TYRONE MCMULLEN                                          CAUSE NO: 27C01-0904FA-134


                                             ORDER OF SENTENCE

           This matter is before the Court for re-sentencing.' The State of Indiana appeared by Chief

  Deputy Prosecuting Attorney Evan Hammond and Deputy Prosecuting Attorney Jamie Moore and

  the Defendant appeared in person and with counsel Bruce N. Elliott. The Defendant was convicted

  following a trial by jury on the 12th day of August, 2010, and the Court now ﬁnds the Defendant

  guilty of Count 1, Possession of Cocaine, a Class A felony, Count 3, Possession of Cocaine, a.

  Class C felony, and Count 4, Possession of Marijuana, a Class D felony. Due to double jeopardy

  considerations, the conviction on Count 3 is vacated.

           The Court has considered evidence presented during jury trialand at the sentencing hearing

  of the Defendant. For its sentencing statement, the Court ﬁnds as aggravating factors 1) the

  Defendant's lengthy history of criminal or delinquent behavior despite his young age at the time

  of commission of the offenses, which history includes numerous failures to abide by the terms and

  conditions of probation or other supervision; and 2) and the fact that the Defendant had been



    Resentencing was directed following a federal habeas corpus proceeding in the U.S. District Court for the
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  Southern District of Indiana in Ryan T. McMu/Ien v. Gary Dalton and Melissa Stephenson, Cause No. 2:19cv-00356
  JRSMJD. See also McMu/Ien v. Dalton, 83 F.4'" 634 (7'h Cir. 2023). It should also be noted that in 2021, the Court
  modified the original sentence herein to afford the Defendant the privilege of the Community Transition Program,
  Reentry Court, and probation thereafter. Due to the intervening orders on habeas corpus, and the resulting
  resentencing, the Court finds that modification order to be a nullity. It should further be noted that Defendant has
  been alleged to have violated the terms of his supervision therein by committing a host of new offenses in Cause
  Nos 27D012312-F6833 and 27D012403-F2-11, including, in 27D012403-F2-11, strikingly similar behavior to the
  offenses that he was convicted of in this cause.
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 released from jail, applied for home detention and was given a report date for incarceration, after

 which he failed to report to jail as directed to serve his sentence; in fact, these offenses were

  committed while Defendant was a fugitive from this Court's warrant.          The Court accepts as

  mitigating factors the Defendant's troubled childhood and mental health issues which
                                                                                            resulted


  therefrom, and that his imprisonment may be a hardship on his dependents. The Court's analysis

  herein echoes that set forth in the Court's lengthy ﬁndings in its order denying post-conviction

  relief entered in Cause No. 27C01-1112-PC-000009:

                McMullen alleges that Lewis should have presented additional
                evidence at sentencing regarding the mitigating factor of
                McMullen's troubled childhood. The record reﬂects that Lewis, in
                fact, did assert that McMullen's troubled childhood was a mitigating
                factor at sentencing. McMullen alleges, however, that Lewis should
                have called a host of ﬁiends, family members, and his child therapist
                to bolster that argument. The Court notes that testimony of friends
                and family members at sentencing indicating that they like the
                criminal defendant and offering their opinion of where and why such
                person went off the tracks of lawful behavior seldom offers any
                utility to the sentencing process. In this case, such testimony, to the
                extent that it had any value at all, would have been cumulative of
                facts already established by the Presentence Investigation Report
                and arguments already offered by Lewis.          Further, even with the
                assistance of hindsight, McMullen        fails  to  establish how that
                troubled childhood excuses his decision to engage in the illegal
                business of drug dealing. This is not a case where a defendant was
                repeating or re-enacting abuse which was perpetrated on him.
                Rather, it was entrepreneurial, albeit illegal, behavior.

                 To the contrary, a signiﬁcant factor in this Court's sentencing
                 decision is that McMullen had been offered many different
                 opportunities prior to the incidents in question to rehabilitate his
                 behavior, including probation, placement at the Youth Opportunity
                 Center, placement at George Junior, cognitive behavioral therapy,
                 behavioral aftercare, POOL School, counseling, Family Services
                 Homebased Program, alcohol and drug counseling, and intensive
                 outpatient treatment, in addition to the intermediate punitive
                 sanctions of license suspensions, detention, house arrest, and jail.
                 (Transcript, p. 498). Throughoutthe course of his criminal history,
                 he had demonstrated no interest in changing his criminal behavior.
                 None of the evidence which McMullen argues should have been
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             offered at sentencing would change or obscure those stark facts.
             McMullen had the opportunity to have his sentence independently
             reviewed on direct appeal. To that end, the Court of Appeals noted:

                             The nature of McMullen's offenses justiﬁes a
                    maximum sentence. While it is true that no evidence of any
                    speciﬁc drug sale was introduced at McMullen's trial, we
                    cannot overlook what the record as a whole makes
                    abundantly clear: McMullen was dealing drugs out of
                    Apartment 410, not just near a family housing complex, but
                    in a family housing complex. In addition to the vast amounts
                    of illegal drugs found in the apartment (several thousand
                    dollars' worth each of crack cocaine and marijuana), police
                    also found a digital scale and a loaded nine millimeter
                    handgun, other trappings of the drug dealer. Moreover,
                    police found a letter in the apartment from McMullen to
                    Glasser stating, "I'm gonna get a job and sell weed and ex"
                    and "no more cocaine." Appellant's App. p. 61. Finally,
                    police observed a known drug user leave the apartment who
                    told them that she had tried to purchase crack cocaine from
                    McMullen, an attempt that was apparently unsuccessful only
                    because she had "too much drama." Tr. p. 295. The nature of
                    McMullen's offenses is that they were part of an ongoing
                    drug-dealing enterprise located in a family housing complex.
                             We also believe that McMullen's maximum sentence
                    is justified by his appalling juvenile and adult criminal
                    record, all amassed by the time he turned twenty-three.
                    Beginning when he was ten, McMullen was adjudged to
                    have committed what would be, if committed by an adult,
                     Class B felony armed robbery, Class D felony auto theft,
                     Class D felony receiving stolen property, Class A
                    misdemeanor conversion, Class A misdemeanor criminal
                     mischief, Class B misdemeanor battery, two counts of Class
                     A misdemeanor resisting law enforcement, Class B
                     misdemeanor disorderly cOnduct, false informing, illegal
                     possession of alcohol, and Class A misdemeanor marijuana
                     possession. McMullen was also adjudged as a juvenile twice
                     to be incorrigible, to have violated curfew, to have run away,
                     and to have violated the terms of probation three times.
                       ,
                             As an adult, McMullen has been convicted of Class
                     D felony criminal recklessness with a deadly weapon, Class
                     D felony marijuana possession, Class A misdemeanor
                     pointing a ﬁrearm, Class C misdemeanor illegal possession
                     of alcohol, Class A misdemeanor carrying a handgun
                     without a license, two counts of Class A misdemeanor
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                       marijuana possession, Class C misdemeanor operating a
                       vehicle never having received a license, Class C
                       misdemeanor operating a motor vehicle while intoxicated,
                       and Class B misdemeanor criminal mischief. Moreover,
                       McMullen has been incarcerated on several occasions; has
                       violated the terms of adult probation; has been cited several
                       times for misconduct in the Grant County jail; has been
                       charged with eighteen additional crimes that were later
                       dismissed; and, as of sentencing, had attempted murder,
                       Class D felony criminal recklessness, and Class C felony
                       battery by means of a deadly weapon charges pending. We
                       find McMullen's numerous ﬁrearms-related convictions to
                       be particularly disturbing. McMullen's multitudinous
                       juvenile adjudications, criminal convictions, and other
                        contacts with the criminal justice system have not caused
                       him to reform himself. The nature of McMullen's offenses
                        and his character justify his maximum sentence.

                McMullen v. State, 2011 Ind. App. Unpub. LEXIS 861 (Slip op. at
                pp 14-17). Thus, what was outcomedeterminative at sentencing
                was not the quality of the argument that his attorney made on the
                day of sentencing, butrather McMullen's increasingly troubling
                behavior and history which occurred in the thirteen years prior to the
                day of sentencing.

         Based upon such, the Court now sentences the Defendant to a term of imprisonment at the

  Indiana Department of Correction'of ﬁfty (50) years executed on Count l and three -(3) years

  executed on Count 4, concurrent.

         The Court further finds that the Defendant should be disenfranchised during the term of

  imprisonment imposed and that the Defendant is entitled to 295 actual days credit for time spent

  awaiting the original sentencing as of September 10, 2010; 4029 actual days for time serving

  the executing sentence prior to the original sentencing; and 285 actual days awaiting

  resentencing; for a total of 4609 actual days. This total does not include any earned credit

  time for programming at IDOC, for which Defendant may receive credit per IDOC policy.

  Further, Defendant should be given credit for good time conduct for time spent in conﬁnement.

  The Court further ﬁnds that as a convicted felon the defendant is hereby ordered to submit a DNA
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  sample to the appropriate authorities pursuant to I.C.10-13-6.

         Pursuant to LC. 11-125-7 the Defendant is ordered to reimburse. Grant County for any

  medical care expenses incurred by the County in providing medical care to the Defendant while

  an inmate in the Grant County Jail.

         IT IS THEREFORE ORDERED, ADJUDGED AND DECREED BY THE COURT,
  that the Defendant is sentenced to a term of imprisonment at the Indiana Department of Correction

  of ﬁfty (50) years executed on Count 1 and three (3) years executed on Count 4, concurrent. The

  State moved to dismiss the habitual offender enhancement at the original sentencing, and the same

  is again dismissed herein.

         The Defendant is determined to be indigent and fees, ﬁnes and costs are waived.

         After advisement of rights, the Defendant indicates he will be ﬁling an appeal. The Court

  ﬁnds Defendant to be indigent. The Grant County Public Defender's Ofﬁce is to designate an

  attorney for the appeal.

         so ORDERED, this 16th day of December,
                                                                                    /
                                                       2024/
                                                       MA    E. SPITZER, JUDGE
                                                       G     NT CIRCUIT COURT




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